Case 3:18-cv-00966-MJR-DGW Document 44 Filed 05/30/18 Page 1 of 3 Page ID #109



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

CATHERINE ALEXANDER,                   )
                                       )
            Plaintiff,                 )
                                       )
     -vs-                              )
                                       )
TAKE-TWO INTERACTIVE SOFTWARE, INC., )
2K GAMES, INC.; 2K SPORTS, INC.; WORLD )                 Case No. 3:18-cv-966-MJR-DGW
WRESTLING ENTERTAINMENT, INC.;         )
VISUAL CONCEPTS ENTERTAINMENT;         )
YUKE’S CO., LTD.; AND YUKE’S LA INC.,  )
                                       )
                                       )
            Defendants.                )

              CORPORATE DISCLOSURE STATEMENT OF DEFENDANTS
                    YUKE’S CO., LTD., AND YUKE’S LA, INC.


        Pursuant to Federal Rule of Civil Procedure 7.1, Defendants Yuke’s Co., Ltd., and

 Yuke’s LA, Inc. submit the following disclosure statement:

        1.     Yuke’s LA, Inc. is wholly-owned by the publicly held Yuke’s Co., Ltd.

        2.     Yuke’s Co., Ltd. has no parent corporation, and no publicly held corporation

 owns ten percent or more of Yuke’s Co., Ltd.’s stock.
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 Dated: May 30, 2018              Respectfully submitted,

                                  /s/Dale M. Cendali
                                  Dale M. Cendali (admitted pro hac vice)
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                                  Attorneys for Defendants 2K Games, Inc., 2K
                                  Sports, Inc., Take-Two Interactive Software,
                                  Inc., Visual Concepts Entertainment, Yuke’s
                                  Co., Ltd., and Yuke’s LA, Inc.




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WRESTLING ENTERTAINMENT, INC.;         )
VISUAL CONCEPTS ENTERTAINMENT;         )
YUKE’S CO., LTD.; AND YUKE’S LA INC.,  )
                                       )
                                       )
            Defendants.                )

                                CERTIFICATE OF SERVICE

         I hereby certify that on May 30, 2018, I electronically filed the foregoing Corporate
 Disclosure Statement with the Clerk of the Court using the CM/ECF system, which will send
 notification of such filing to the following:

                   Anthony G. Simon              asimon@simonlawpc.com
                   Benjamin R. Askew             baskew@simonlawpc.com
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                                           Inc., Visual Concepts Entertainment, Yuke’s
                                           Co., Ltd., and Yuke’s LA, Inc.
